      Case 2:16-cv-00363 Document 8 Filed in TXSD on 04/26/17 Page 1 of 2
                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                             April 26, 2017
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk

                       CORPUS CHRISTI DIVISION

CHERYL PRIDGEN,                           §
                                          §
        Plaintiff,                        §
VS.                                       §   CIVIL NO. 2:16-CV-363
                                          §
TRANSAMERICA PREMIER LIFE                 §
INSURANCE COMPANY,                        §
                                          §
        Defendant.                        §

                                      ORDER

      BE IT REMEMBERED that on April 26, 2017, the Court considered the Joint
Motion for Entry of Stipulated Dismissal (Dkt. No. 7) in the above-captioned case.
Plaintiff Cheryl Pridgen (“Pridgen”) and Defendant Transamerica Premier Life
Insurance Company (“Transamerica”) stipulate that all claims and causes of action
filed in this matter should be dismissed with prejudice, with each party to bear its
own costs. Dkt. No. 7 at 1.

      Federal Rule of Civil Procedure 41 states, in part, that “the plaintiff may
dismiss an action without a court order by filing . . . a stipulation of dismissal
signed by all parties who have appeared.” Fed. R. Civ. P. 41(a)(1)(A)(ii). “[A]
voluntary order of dismissal requested by both parties is effective upon filing and
does not require the approval of the court.” SmallBizPros, Inc. v. MacDonald, 618
F.3d 458, 461 (5th Cir. 2010) (quoting Ramming v. Natural Gas Pipeline Co. of Am.,
390 F.3d 366, 369 n.1 (5th Cir. 2004)).

      This stipulation is signed by counsel for Pridgen and counsel for
Transamerica. In accordance with the Joint Motion for Entry of Stipulated
Dismissal and Rule 41(a)(1)(A)(ii), the Court ORDERS that the claims in the
above-captioned case are DISMISSED WITH PREJUDICE.




1/2
      Case 2:16-cv-00363 Document 8 Filed in TXSD on 04/26/17 Page 2 of 2



      The Court further DIRECTS the Clerk to close the case.


      SIGNED this 26th day of April, 2017.


                                        ___________________________________
                                        Hilda Tagle
                                        Senior United States District Judge




2/2
